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                                                                    PRO HAC VICE APPLICATION,
                                                                  ECF REGISTRATION AND CONSENT
 UNITED STATES DISTRICT COURT                                        TO ELECTRONIC SERVICE,
EASTERN DISTRICT OF CALIFORNIA                                          PROPOSED ORDER


  United States of America

                                    Plaintiff(s),
                                                    Case No. 2:17-CR-00169-GEB-2
  v.

   Chi Meng Yang, et al.,
                                 Defendant(s).


          I,           Katryna Lyn Spearman, Esq.                                      ,

 attorney for           Gaosheng Laitinen, Defendant                                        ,

 hereby petition for admission to practice Pro Hac Vice under the provision of Local Rule

 180(b)(2). I understand and consent to ECF Registration and Electronic Service as detailed

 below and I have submitted payment in the amount of $225.00 to the Clerk, U.S. District Court.

 In support of this petition, I state under penalty of perjury that:

          My business address is:

 Firm Name:              ___     Lowther | Walker, LLC____

 Address:                        101 Marietta St. NW

                                 Suite 3325

 City:                           Atlanta

 State:                   Georgia            ZIP Code:   30305

 Voice Phone:                    (936) 537-3914

 FAX Phone:                      (866) 819-7859

 Internet E-mail:                KSpearman@LowtherWalker.com

 Additional E-mail:              KSpearman@LowtherWalker.com

 I reside in City:               Atlanta                 State:        Georgia
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          I was admitted to practice in the       State of Georgia                    (court)

on        April 24, 2018                           (date). I am presently in good standing and

eligible to practice in said court. A certificate of good standing from the court in my state of

primary practice is attached to this application. I am not currently suspended or disbarred in

any other court.

          I have  / have not  concurrently or within the year preceding this application made

a pro hac vice application to this court. (If you have made a pro hac vice application to this

court within the last year, list the name and case number of each matter in which an

application was made, the date of application and whether granted or denied.)

___________________________________________________________________________

___________________________________________________________________________

                                                                                                   .

          I hereby designate the following member of the Bar of this Court who is registered for

ECF with whom the Court and opposing counsel may readily communicate regarding the

conduct of the case and upon whom electronic notice shall also be served via the court's ECF

system:

Name:                      J.P. Brennan, Esq.

Firm Name:                 Brennan Defense

Address:                   901 H. Street,

                           Suite 303

City:                      Sacramento

State:                     California       ZIP Code:    95814

Voice Phone:               (926) 498-1776

FAX Phone:                 (   )        -

E-mail:                    info@brennan-defense.com



Dated:           November 8, 2018           Petitioner: _____________________________________
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                                              ORDER

       IT IS SO ORDERED.
Dated: November 14, 2018




              ECF REGISTRATION AND CONSENT TO ELECTRONIC SERVICE
        Beginning January 3, 2005, all cases filed and pending in the Eastern District of
California are subject to electronic filing, service (ECF) and electronic case storage procedures
(CM). This form shall be used to register for accounts on the Court’s Electronic Case File
(ECF) system which permits electronic filing.
       By submitting this Petition to Appear Pro Hac Vice and ECF Registration Form, I
       understand:
1.     Registration herein is for ECF use only in cases proceeding in the U.S. District Court for
the Eastern District of California.

2.     Each attorney who is wishes to appear in the Eastern District pro hac vice must
complete and sign an Attorney Registration Form. An attorney’s password issued by the court
combined with the attorney’s identification (login), serves as and constitutes the attorney
signature. Therefore, an attorney/participant must protect and secure the password issued by
the court. If there is any reason to suspect the password has been compromised in any way,
such as resignation or reassignment of the person with authority to use the password, it is the
duty and responsibility of the attorney/participant to immediately notify the court. The court will
immediately delete the password from the electronic filing system and issue a new password.

3.      Unless an attorney expressly declines to consent (see below) registration as a Filing
User constitutes: (1) consent to receive service electronically and waiver of the right to receive
service by first class mail pursuant to Federal Rule of Civil Procedure 5(b)(2)(D); (2) consent to
electronic service and waiver of the right to service by personal service or first class mail
pursuant to Federal Rule of Civil Procedure 5(b)(2)(D). Note: Service of Summons and
Complaint pursuant to Federal Rule of Civil Procedure 4 are not encompassed by
electronic service. Waiver of service and notice by first class mail applies to notice of the entry
of an order or judgment. Service by electronic means is complete upon transmission of the
Notice of Electronic Filing.

4.       A user accesses court information via the court’s Internet site or through the Public
Access to Court Electronic Records (“PACER”) Service Center. PACER involves a separate,
free registration. Although the court manages the procedures for electronic filing, all
electronic public access to case file documents occurs through PACER. A PACER login is
required, in addition to, the password issued by the court. To register for PACER, a user must
complete the online form or submit a registration form, available on the PACER website
(http://pacer.psc.uscourts.gov).

5.       By this registration, I understand that the specific procedures which control electronic
filing can be found in the Local Rules and CM/ECF User’s Manual, all of which can be accessed
on the Court’s website. Please periodically access these Rules and Manual in order to
understand electronic filing requirements, and any changes which may be later implemented.
Serious and/or sustained failure to abide by those procedures may result in a termination of
electronic filing privileges which are a prerequisite to practice in the Eastern District.
Notice Regarding Non-Consent to Electronic Service. An attorney may expressly forego consenting to
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service and receipt of filed documents by electronic service pursuant to Federal Rule of Civil Procedure
5(b)(2)(D). This decision not to consent must be by separate document in writing addressed to the Office
of the Clerk. Parties not consenting to electronic service must serve by the other methods specified in
Rule 5.

The court strongly urges that all attorneys consent to serve and receive service of filed documents by
means of electronic service. There is no significant downside to such consent and universal participation
in electronic service will benefit all concerned. Failure to consent to electronic service does not
relieve attorneys of the obligation to file documents electronically when required to do so or
otherwise abide by CM/ECF procedures.
